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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 01-cr-00319-WYD

 UNITED STATES OF AMERICA,

        Plaintiff,
 v.

 1. JOHN D. SPOSIT,

        Defendant.



      ORDER FOR SENTENCE REDUCTION PURSUANT TO FEDERAL RULE OF
                 CRIMINAL PROCEDURE 35(b)(2)(B)


 Daniel, J.

        THIS MATTER COMES before the Court on Government’s Motion for Sentence

 Reduction Pursuant to Federal Rule of Criminal Procedure 35(b)(2)(B) [docket #1173],

 filed August 10, 2007. Defendant does not oppose this motion. After carefully

 reviewing the file in the above-captioned case, I find that the motion should be granted.

        By way of background, Defendant Sposit is currently serving a 144-month

 sentence after being sentenced by this Court on July 14, 2004 on a Continuing

 Criminal Enterprise charge. In its Rule 35(b) motion, the Government requests a

 further reduction in sentence based on the defendant’s substantial assistance rendered

 subsequent to sentencing. The Government recommends a further reduction of 12

 months, which would result in a sentence of imprisonment of 132 months. The

 defendant does not oppose this request and joined in a request for a hearing if


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 necessary.1

         The Government’s request is made more than one year after sentencing and the

 Government states that the information could not reasonably have been anticipated by

 the defendant until the time rendered and that such information was promptly provided

 to the Government. When the need for the information arose, its usefulness became

 reasonably apparent to the defendant and the Government states that the information

 was provided promptly. See Motion at ¶¶4 and 5.

         The Government has provided a legal basis in its motion that adequately

 supports its request. See Motion at ¶ 6.

         The Government is uniquely positioned to measure the quantity and quality of

 defendant’s assistance both before and after sentencing. Based on the Government’s

 representations about defendant’s substantial assistance, a further reduction in

 sentence of 12 months is warranted under Fed.R.Crim.P. 35(b). The nature and

 extent of defendant’s substantial assistance both before2 and after sentencing warrants

 a further reduction of 12 months to a modified sentence of 132 months.3

         THEREFORE, IT IS ORDERED as follows:

         1. That the Government’s Motion for Sentence Reduction Pursuant to Federal

 Rule of Criminal Procedure 35(b)(2)(B) [docket #1173], filed August 10, 2007, is

         1
          Having reviewed the record and having taken judicial notice of all relevant adjudicatory facts,
 no evidentiary hearing or oral argument is required. The matter stands submitted on the unopposed
 motion and the record.

         2
           The defendant received a downward departure from 240 months to 144 months at the time of
 sentencing.

         3
             I have considered the presentence cooperation of the defendant. See Fed.R.Crim.P. 35(b)(3).

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 GRANTED;

       2. That Defendant’s sentence of imprisonment is reduced by 12 months to a

 sentence of imprisonment of 132 months;

       3. That upon release from imprisonment, Defendant shall be placed on

 supervised release for a term of five (5) years, subject to the mandatory, standard, and

 explicit conditions of supervised release announced orally during the sentencing

 hearing on July 14, 2004, and reiterated in writing in the judgment entered on July 15,

 2004; and

       4. That the Judgment in a Criminal Case entered July 15, 2004, shall be

 amended to the extent necessary to facilitate and implement these orders.

       Dated: August 29, 2007

                                          BY THE COURT:


                                          s/ Wiley Y. Daniel
                                          Wiley Y. Daniel
                                          U. S. District Judge




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